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Exhibit 1, Chris Haines
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DECLARATION OF CHRIS HAINES

My name is Chris Haines. 1 declare under penalty of perjury and upon my personal
knowledge that the following is true and correct. Tam the Vice President of Tolteca Enterprises
Inc., dba The Phoenix Recovery Group. As such lam familiar with the proceedings in the
Hackler case and surrounding circumstances. When Plaintiffs counsel proposed a settlement for
$20,000 the company was not able to financially afford that. Tolteca consulted with a
bankruptcy lawyer but decided to tough this out and work through this case. Later on during this
litigation, the company laid off 50% of its staff and obtained a Payroll Protection Program cash
infusion. To try to settle this case and move on, $55,000 was offered to settle. Tolteca believes
the amount was very fair but Plaintiff's counsel was difficult about reaching a compromise and
settlement. Also, the finances of the company improved after Frank Gamboa, my brother,
finished his divorce case with my sister in law, Venessa. In the division of property, Venessa
was awarded shares in Tolteca. Venessa and I have earnestly sought to stabilize the company
and as part of that effort, Tolteca sought to settle this case for $55,000 an amount that was
feasible for Tolteca to pay given some installment payment terms. It is true that Tolteca’s
software was not able to generate names and addresses of possible class members. Tolteca uses a
bulk mailer named Focus One who was told to gather names and addresses to provide that
information to Plaintiff's counsel. Focus One did provide the information which was turned over
to Plaintiffs counsel. As further evidence of cooperation, Tolteca turned over financial
information (tax information and financial data under seal and in confidence) to Plaintiffs
counsel. Tolteca did nothing egregious in this case. Tolteca has striven to cooperate in this
lawsuit and believes that it did so in an equitable manner. The matters about which Plaintiff
complained have been corrected. Imposing 30x the class benefit in attorney fees and shiftmg
noticing costs onto Tolteca would be unfair, punitive, unreasonable, financially onerous and
crippling. Our counsel is charging $300/hr for his representation in this lawsuit.

Dated: July 13, 2021.

Chris Haines, VP

 
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Exhibit 2, Tom Clarke
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DECLARATION OF THOMAS A. CLARKE
I declare the following statements are true and correct under penalty of perjury.

Lam the attorney for Tolteca Enterprises Inc., in the above case. Tam licensed to practice law
in the State of Texas and admitted to the Fifth Circuit Court of Appeals, the United States District
Court for the Western, Eastern, Southern and Northern Districts of Texas, the United States District
Court for Colorado and the United States District Court of Ohio, Columbus Division. In my legal
opinion and based on my training, education and experience, $500 / hr is not reasonable in this case
where there was no jury trial, no depositions, and no in person court proceedings or discovery
sanctions. $350 / hr would be reasonable. I am charging Tolteca $300 / hr.

Ihave reviewed the State Bar of Texas Dept of Research & Analysis from 2016 and believe
that it supports my opinion. See, Attached

I believe the arguments set out in Tolteca’s response about attorney fees and costs are sound
and the amount claimed by Plaintiffs counsel is unreasonable and unfair under the totality of
circumstances. I believe 30x the class award for fees is exorbitant and should be reduced by the
court. I believe $101,000 for class counsel is unreasonable and excessive for all the arguments set
forth in the Response. I believe there is no compelling reason to shift class noticing costs onto my
client. That is a cost that class counsel should bear.

Linformed class counsel from the beginning of this lawsuit that my client had a meager net
worth and my client provided adequate proof of its low net worth.

Dated: July 14, 2021.

S/Thomas A. Clarke
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Exhibit 3, State Bar Survey
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2015 HOURLY RATE FACT SHEET

 

STATE BAR OF TEXAS
DEPARTMENT OF RESEARCH & ANALYSIS

 

2015 HOURLY FACT SHEET

Published August 2016
Analysis by Invariance Dynamics Consulting — Nils Greger Olsson, PhD

P.O. Box 12487, Austin, TX 78711 (800) 204-2222, ext. 1724 or (512) 427-1724 research@texasbar.com

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2015 HOURLY RATE FACT SHEET _

   

 

Introduction

This hourly rate report is published periodically about the economics of law practice in Texas. To make such information available to
attorneys, the State Bar’s Department of Research and Analysis conducted the Texas Attorney Survey — Status 2015 on March 21,
2016. A goal of the survey was to obtain information on hourly rates charged in 2015 by Texas attorneys.

This report presents the data collected on the hourly rates of 4,260 licensed and practicing, full-time private practitioners who
provided hourly rate information for the calendar year 2015. The report provides detailed breakdowns of hourly rates by sex, race,
ethnicity, age, law firm size, years of experience, area of practice, and region of the state. A comparison to 2013 hourly rates is also

provided for select demographics.

The questionnaire was emailed on March 21, 2016, to all active State Bar of Texas attorneys who have not opted out of taking surveys
(N = 94,150). The survey’s response rate was 12.5 percent, with a total of 11,793 attorneys responding to at least a portion of the
survey. A more detailed description of the methodology and a copy of the questionnaire are included at the end of this report

(Appendix A).

s by category. The median hourly rate is the preferred measure of average

This report on hourly rates displays the median hourly rate
the typical rates. Rates are only reported on categories with 6

hourly rates, rather than the mean, because it more accurately represents
or more responses.

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State Bar of Texas Department of Research and Analysis
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2015 HOURLY RATE FACT SHEET

2015 and 2013 Overall Hourly Rates': Distribution Statistics
This distribution statistics table on the right shows the following
statistics of 2015 hourly rates:

i. The mean (average): of reported hourly rates.

ii. The 75" percentile”: 75 percent of attormeys
charge at or less.

iii, The median (50 percentile): the hourly rate
charged at the midpoint of a rank ordering of
attorneys’ rates (50 percent of attorneys charge the

median or less).
iv. The 25" percentile, the rate that 25 percent of

attorneys charge at or less than.

When possible, the 2013 hourly rate medians are shown for the
comparison.

‘tan attorney’s hourly rate varied by area of practice, a simple average for that
attorney was calculated,

 

State Bar of Texas Department of Research and Analysis

    

  

2015 Hourly Rate:

 

 

 

 

  

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

Private Practitioners
(n= 4,260)
Average (Mean) $288
75th Percentile $350
Median (50th Percentile) $260
25th Percentile $200
| 2013 Hourly Rate 4 Pn ate Practitioners —
__|Median $242
__| Increase or decrease in
__| medians (2015 - 2013) $18
_ | Percent change in medians
| (2015 - 2013) / 2013 7.4%

 

 

 

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2015 HOURLY RATE FACT SHEET _

  

   

 

 

Hourly Rate Summary Findings

Below are summary findings from the 2015 survey. Articles will be published in the Texas Bar Journal to provide detailed information on
notable findings.

All hourly rate information provided in this report is for full-time private practitioners only.

Hourly Rates by Demographic Category
> The median hourly rate reported for all full-time private practitioners increased by 7.4 percent ($242 to $260) from 2013 to 2015.

> The median hourly rate reported for women attorneys increased by 9.6 percent ($228 to $250) from 2013 to 2015. This compares to a

11.3 percent ($247 to $275) increase for male attorneys.
The median hourly rate reported for racial minority attorneys increased by 14.7 percent ($218 to $250) from 2013 to 2015. This

¥
compares to a 6.1 percent increase ($245 to $260) for white attorneys.
> There is a direct relationship between median hourly rates and years of experience, age, and firm size. Information on median hourly

rates reported in 2015 for these categories include:
o Years of experience: Rates increase as attorneys obtain more experience. In 2015, rates ranged from $200 for attorneys who had

2 or less years of experience to $300 for attorneys who had more than 25 years of experience.
o Age: Rates increase as attorneys age. In 2015, rates ranged from $180 for attorneys who were 21 to 25 years of age to $300 for

attorneys who were more than 65 years of age.
o Firm size: Rates increase as firm sizes increase. In 2015, rates ranged from $250 for attorneys who worked as solo practitioners

to $425 for attorneys who were in firms with more than 400 attorneys.
> Detailed information on hourly rates reported by practice area can be found on pages 6-7, and 9-11.

Hourly Rates by Geographic Region
> Overall median hourly rate findings by geographic region include:
o All metropolitan regions: Rates for attorneys in metropolitan regions increased by 8.2 percent ($243 to $263) from 2013 to

2015.
o Non-metropolitan areas: Rates for attorneys in non-metropolitan areas increased by 20.6 percent ($199 to $240) from 2013 to

2015.
o Out of state/country: Rates for attorneys out of state/country increased by 9.7 percent ($269 to $295) from 2013 to 2015.

> Detailed information on hourly rates by geographic region can be found on pages 8-13.

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_ 2015 HOURLY RATE FACT SHEET

   
   

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Hourly Rates by Demographic Category srscsecssssssrscsssssesssencorserecnssssoonsnescerecsecenensenenns

Hourly Rate Ranges of Full-Time Private Practitioners cnr patisserie cas laeaahtc

All Full-Time Private Practitioners.......s:cssscscsnsssceseesnsecneesseenseenensaneaneen see ttt tt tte tee

eeaP Ase seneeneannsseeeneean nes he ssn anaanesea ses esa esa erases enes

Region by Years of Experience ........+++ ieaeases deeteeaneeees esky eaetectetngecaress dhegieivines sevensesiyiysvagte ere.

Region by Firm Size ............ eee sesasenvonesseusarss vecevsevacaesusaceucaaseseacseedsaeeaaeaqeeeeesererseeteersananseeeseged
sersessesssvonsseee L424

Appendixcsecscssossssssersnesecscnssnsneosonnscesssnssecscenssnncensnasesscnenannssonscnnasccnnansoasangqeeeesen nett

Method........608 itiaerioraenanniss cceueunecvacsueaaseasesiredesesneeneeeneeeeaGanegeeeeeeeaerageeaeeenegaes
Geographic Regions.........ss00 aniseed seesunecies aacaseaiees savuano cbaroosasailaaibesitieitoatasaiigeyevvssunesvers

Survey Instrument ..rcsssssssccesssnrsssesssesnseesessannnoneosssesonsanavescsannnnnneconnssnasesonsnnenereeeseeeeses eens 17-24

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2015 HOURLY RATE FACT SHEET

   

 

Median Hourly Rates by Demographic Category
Hourly Rate Ranges of 2015 and 2013 — Full-Time Private Practitioners

 
          

More than $500
$451 to $500
$401 to $450
$351 to $400
$326 to $350
$301 to $325
$276 to $300
$251 to $275
$226 to $250
$201 to $225
$176 to $200
$151 to $175

$126 to $150
$101 to $125
$76 to $100
$75 or less

2013 Median Hourly Rate = $242

~2015 Median Hourly Rate = S260

2013 to 2015 Percent Change = 7.4%
2013 to 2015 Difference = +$18

18h

14.7%

 

8.0% 10.0% 12.0% 14.0% 16,0% 18.0%

$101 to $126to $1Slto $176to $201to $226 to $251 10 $276to $301to $326to $351to $401 to $451 to _

| $75 or $76to |
| less $100 $125 $150 $175 $200 $225 $250 $275 $300 $325 $350 $400 $450 $500 $500 |

09% 1.0% 0.8% 44% 6.1% “13.4% 73% 153% 7.0% 11.8% 4.5%

11% 1.0% 1.6% 6.8% 71% 147% 7.7% _ 155% __ 6.5% _ [8 4.1% 53% 64% 3.5% 24% 4.6%

4.0% 6.0%

 

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*Note: If an attomney’s hourly rate varied by area of practice, a simple average was calculated.

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2015 HOURLY RATE FACT SHEET

 

Hourly Rates by Demographic Category
2013 and 2015 Median Hourly Rate by Sex, Race, and Ethnicity

 

Change from 2013 to 2015
Difference Percent Chan

    

     

Median Hourly Rates

         

     

e

            

 

2015

  

All Full-Time Private EU ECL

Full-Time attorneys $242 $260

(N = 4,260)

  

    

    
          

  

Male $275 11.39
(N = 3,271) (N = 2,749) 3%

Female $228 $250 ;
(N = 1,406) 9.6%

$15 6.1%

 

 

 

White
(N = 3,958) (N = 3,730)
All Racial Minorities $218 $250
. : : . _ _ $32 14.7%
(For 2013, this included Hispanic or Latino) (N = 732) (N= 371)
Black or African American $220 $250
(N = 132) (N= 110) a 13.6%
American Indian or Alaska Native $200 $250
Asian $230 $250 $20 °
(above was "Asian/Pacific Islander in 2013) (N = 107) (N= 89) 8.7%
Native Hawaiian or Other Pacific Islander N/A ~
N/A N/A N/A
Two or More Races $233 $264
(N = 65) (N= 74) oo 13.2%
Other Race $250
5.0%

     

 

     

 

 

 

 

 

 

 

 

Hispanic or Latino $250
(N = 361) (N= 376) $47 23.2%
Not Hispanic or Latino N/A $265
NIA (N = 3,721) Bie N/A
urly rate, Rates are reported only for groups with six or more obsetvations, Otherwise the tilde is

If multiple rates provided, by practice area, they were averaged for overall ho

shown (~).

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Hourly Rates by Demographic Category
2013 and 2015 Median Hourly Rate by Years of Experience

 

Years of Experience

   

2015 HOURLY RATE

 

FACT SHEET

 

 

 

Median Hourly Rates

2013

 

 

2015

 

 

Change from 2013 to 2015

Difference

 

 

Percent Change

 

2 or less years $185 $200 $15 8.1%
(N = 590) (N= 475)
3 to 6 years $218 $250
32 14.7%
(N = 790) (N= 759) 4 °
7 to 10 years $239 $250
il 4.6%
(N = 533) (N= 483) : ”
11 to 15 years $245 $258
13 5.4%
(N = 498) (N= 483) ; °
16 to 20 years $261 $300
39 14.9%
(N = 437) (N= 382) : °
21 to 25 years $264 $300
36 13.6%
(N = 504) (N= 383) ‘ eo
Over 25 years $281 $300 $19 6.8%
(N = 1,399) (N = 1,194)

 

Note: Years of experience based on year first licensed in any jurisdiction.

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2015 HOURLY RATE FACT SHEET

 

Hourly Rates by Demographic Category
2013 and 2015 Median Hourly Rate by Age

 

     
  
    

 

 

 

 

Median Hourly Rates Change from 2013 to 2015
2015 Difference Percent Change
21 to 25 years $150 $180 $30 20.0%
(N = 26) (N= 49)
26 to 30 years $192 $200
8 4.2%
(N = 624) (N= 567) $ °
31 to 35 years $227 $250
23 10.1%
(N = 686) (N = 672) ? °
36 to 40 years $237 $250
13 5.5%
(N= 512) (N= 466) : o
41 to 45 years $240 $254
14 5.9%
(N = 499) (N = 444) , °
46 to 50 years $262 $290
$28 10.7%
(N = 500) (N= 398) °
51 to 55 years $268 $275
7 2.6%
(N = 530) (N= 426) : °
56 to 60 years $269 $300
31 11.5%
(N = 546) (N= 428) ‘ ‘
61 to 65 years $270 $300
30 11.19%
(N = 397) (N= 367) -
More than 65 years $279 $300 $21 75%
(N = 401) (N= 325)

 

 

 

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Hourly Rates by Demographic Category
2013 and 2015 Median Hourly Rates by Firm Size

 

     
  

 

 

Median Hourly Rates Change from 2013 to 2015
Difference Percent Change
Solo Practitioners $230 $250 8.7%
(N = 1,539) (N = 1,101)
2 to 5 attorneys $237 $250 $13 55%
(N = 1,336) (N= 1,101)
6 to 10 attorneys $236 $250 $14 5.9%
(N = 488) (N= 511)
11 to 24 attorneys $231 $250 $19 8.2%
(N = 468) (N= 437)
25 to 40 attorneys $236 $250 $14 5.9%
(N = 271) (N= 264)
41 to 60 attorneys $248 $280 $32 12.9%
(N = 114) (N= 123)
61 to 100 attorneys $266 $257 -$9 -3.5%
(N = 129) (N= 84)
101 to 200 attorneys $304 $333 $29 9.6%
(N= 117) (N= 93)
201 to 400 $378 $359 -$19 51%
(N= 117) (N= 137)
More than 400 attorneys $452 $425 -$27 -6.0%
(N = 347) (N= 318)

 

 

 

 

 

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State Bar of Texas Department of Research and Analysis
2015 HOURLY RATE FACT SHEET

 

  

 

Hourly Rates by Demographic Category
2013 and 2015 Median Hourly Rates by Practice Area

Median Hourly Rates

 

Change from 2013 to 2015
Difference Percent Change

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2013

 

2015

   

 

 

Administrative and Public 11.6%
ADR ees ca $22 1.9%
Antitrust i acy $22 48%
Appellate a ‘ @e6 45 437 14.3%
Aviation on Pa » $80 34.8%
a oe os 108) $41 15.8%
ese ee :) ee $37 14.9%
Construction <8 . Gans $15 6.4%
cms aoe ae $10 41%
Creer Desa ms ; eas $39 18.5%
Criminal ovat ; a oe $10 5.3%
Elder Law a cee $22 9.6%
— ae as) 87 “1.3%
| Envi ronment aeeis5) a a6 -$14 -4,2%
Ethics-Legal Mapas 25) Ore 30) -$7 -2,3%
. ov ° N e071) w= 916) 8 mire
Government/Administrative ante 4 aes $29 14.8%
Healt ces on 6 ae 9) $8 3.2%
Immigration ow ee ort $74 37.8%

 

 

 

Note: Attorneys could report

State Bar of Texas

working in more than one practice area. For example, if an att

omey reported working in both family law and criminal law they we

re counted in both.

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2015 HOURLY RATE FACTS

    

 

 

 

Hourly Rates by Demographic Category
2013 and 2015 Median Hourly Rates by Practice Area (Continued)

 

    
      
 

  
 

     

Median Hourly Rates Change from 2013 to 2015
2013 2015 Difference Percent Change
Insurance $183 $195 o.
(N = 269) (N=271) oa
Intellectual Property $331 $365
(N= 267) (N = 208) $34 10.3%
International $350 $385 é
(N = 36) (N= 31) $35 10.0%
Juvenile $147 $100
(N=47) (N =27) ~$47 -32.0%
Labor-Employment $256 $278
(N= 335) (N = 282) $22 8.4%
Law Office Management $241 ~ N/A N/A
(N= 15)
Litigation: Commercial $265 $283 ‘
(N= 1,299) (N= 1209) sie ave
Litigation: Personal Injury $189 $185
(N = 599) (N = 431) “34 -2.1%
Military is ~ N/A NIA
Oil & Gas $240 $255
(N = 350) (N = 302) $15 6.3%
Other $237 $260 °
(N = 265) (N = 183) $23 9.7%
Public Utility Law $259 $308
(N=44) (N= 30) $49 18.7%
Real Estate $237 $250
(N=731) (N= 612) $13 5.5%
School Law $208 $225
(N = 56) (N= 48) $17 8.2%
Securities Law $338 3385 6
(N= 83) (N= 78) $47 13.9%
Social Security Law pat ~ N/A N/A
Taxation $292 $350
(N= 151) (N = 172) $58 19,9%
Technology $290 $375
(N = 30) (N=25) $85 29.3%
Wills-Trusts-Probate $232 $250 .
(N = 867) (N = 602) oe ees

 

 

 

 

 

 

 

Note: Attorneys could report working in more than one practice area. Rates are reported only for groups with six or more observations. Otherwise the tilde is shown (~).

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2015 HOURLY RATE FACT SHEET

 

Hourly Rates by Geographic Region
2013 and 2015 Median Hourly Rates by Region

 

    

 

 

  

 

 

 

Median Hourly Rates Change from 2013 to 2015
2015 Difference Percent Change
All Metropolitan Regions $243 $263 8.2%
(N = 4,234) (N = 3,644) alo
Houston-The Woodlands-Sugarland
MSA $249 $275 $26 10.4%
(N = 1,257) (N = 1,134)
Dallas-Fort Worth-Arlington MSA $249 $275
(N = 1,368) (N = 1,144) $26 10.4%
Austin-Round Rock MSA $259 $300 °
(N = 574) (N = 449) $41 15.8%
San Antonio-New Braunfels MSA $225 $250
(N = 358) (N = 341) $25 11,1%
El Paso MSA $203 $200 io
(N=61) (N = 62) -$3 -1.5%
Corpus Christi M54 $229 $250 0
(N = 59) (N = 50) $21 9.2%
Beaumont-Port Arthur MSA $218 $232 e
Central Texas MSAs $199 $225 7
(N= 55) (N=51) $26 13.1%
East & NE Texas MSAs $225 $250 °
(N = 162) (N = 139) $25 11.1%
South Texas MSAs $198 $225 7
West Texas MSAs $224 $225 .
(N = 197) (N = 153) $1 04%
Non-Metro Areas $199 $240 .
(N = 191) (N = 154) $41 20.6%
Out of State/Country $269 $295 Fy
(N=251) (N = 278) $26 9.7%

 

 

 

 

 

 

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2015 HOURLY RATE FACT SHEET

 

 

 

Hourly Rates by Practice Area by Geographic Region
2015 Median Hourly Rates

 

 

 

 

     

2015 Median Hourly Rates by Practice Area by Region
Houston- Dallas- ‘: San
The Fort aaa Antonio- Corpus pen Central East & South West Not-
Woodlands == Worth- Round New oe Christi eckoa Texas NE Texas Texas Texas Metro a“ of State/
- Arlingto RC — Braunfels MSA msa so Arthur = sagas) MSAs)=—s«MSAs)—s MSA Areas ountry
Sugarland n MSA MSA MSA MSA
Administrative and
Public $300 $250 $300 $200 ~ ~ ~ ~ ~ ~ ~ ~
(N=15) (N=13) (N=37)
ADR $350 $385 ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~
(N=8) (N = 8)
Antitrust ~ ~ ne ~ 7 ~ ~ ~ ~ ne ~ ~ ~
Appellate $325 $275 $340 $250 ~ ~ ~ ~ ~ ~ $195 ~ $198
(N=45) (N=46) (N=19) (N=9) (N= 11) (N = 12)
Aviation a zs = - ~ : i i ~ zi ” 0“ ~
Bankruptcy $300 $340 ~ 7 ~ ~ ~ ~ ~ ~ ~ ~ $355
(N=31) (N=39) (N= 8)
Business $300 $300 $300 $278 $245 $250 $275 $250 $250 $250 $225 $238 $305
(N = 240) ch (N=79) (N=62) (N=8) (N=7) (N=9) (N=10) (N=36) (N=11) (N=34) (N18) (N= 63)
Construction $240 $250 $275 $250 ~ ~ ~ ~ ~ $200 ~ ~ $280
(N=59) (N=71) (N=21) (N=23) (N=8) (N= 11)
Consumer $200 $225 $275 $250 ~ ~ ~ ~ ~ ~ ~ ~ $250
(N=20) (N=25) (N=9) (N=7) (N= 9)
Creditor-Debtor $250 $265 $250 $200 ~ ~ ~ ~ $250 ~ $195 ~ $230
(N = 45) (N=45) (N=10) (N=11) (N = 6) (N = 9) (N = 13)
Criminal $200 $238 $190 $200 ~ ~ ~ ~ $160 ~ $175 $175 $238
(N=27) (N=30) (N=8) (N=14) (N= 7) (N=6) (N=20) (N= 12)
Elder Law $233 $250 $263 $225 ~ ~ ~ ~ ~ ~ ~ $225 ~
(N=8) (N=17) (N=7) (N= 6)
Entertainment ~ $300 ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~
(N=7)

 

 

Note: Attorneys could report working in more than one practice area. Rates are reported only for groups with six or more observations. Otherwise a tilde is shown (~).

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2015 HOURLY RATE FACT SHEET

Hourly Rates by Practice Area by Geographic Region (continued)

 

2015 Median Hourly Rates

  

    

Area by Region

Houston-
The

Woodlands
~Sugarland
MSA

 

 

    

   

Dallas-
Fort
Worth-
Arlington

MSA

Austin-
Round
Rock
MSA

2015 Median Hourly Rates by Practice Area by Region

(Continued)
San Beaumont
Antonio- Corpus Central East & South West Non-
El Paso i -Port
New MSA Christi Arthur Texas NE Texas Texas Texas Metro
Braunfels MSA MSA. MSAs MSAs MSAs MSAs Areas

      

MSA

Out of
State/
Country

   

$330

 

Environmental $388 $418 $300 ~ ~
(N = 12) (N=6) (N=16) (N = 12)
Ethics-Legal Malpractice $350 $240 ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~
(N=7) (N= 12)
Family $260 $250 $268 $225 $213 $213 $200 $219 $250 $250 $250 $250 $250
(N = 219) a (N=82) (N= 98) (N=10) (N=8) (N=7) (N = 26) (N=47) (N=17) (N= 38) (N=61) (N=23)
Government/Adminisira | $250 $213 $263—s«$238 a . Z ~ ~ $200 : 6225 $225
(N=24) (N=24) (N=24) (N = 6) (N= 10) (N=7) (N=8)
Health Care $200 $240 $340 $180 ~ ~ ~ “ es = ~ ~ $300
(N=17)  (N=32) (N=16) (N=15) (N = 10)
Immigration $295 ~ ~ ~ ~ ~ ~ fs ~ ~ ~ ~ ~
(N =6)
Insurance $200 $185 $213 $175 $175 ~ ~ et ~ $200 $190 ~ $185
(N=92) (N=61) (N=24) (N=20) (N=7) (N=7) (N = 27)
Intellectual Property $345 $370 $400 ~ ~ ~ ~ ~ $350 ~ ~ ~ $400
(N=48) (N=68) (N=39) (N=9) (N = 25)
International $435 $313 ~ ~ rm ~ ol 7 c ~ 7 ~ $525
(N = 13) (N = 6) (N=7)
Juvenile ~ $100 ~ ~ ~ a ~ ~ i ~ ~ $100 ~
(N = 8)
Labor-Employment $285 $280 $300 $258 $205 ~ ~ ~ $240 $225 $225 ~ $300
(N=65)  (N=81) (N=33) (N=24) (N= 10) (N=9) (N=10) (N=6) (N=21)
Law Office Management ~ ~ ~ ~ ~ ~ ~ o ~ ~ ~ ~ ~
Litigation: Commercial $295 $300 $300 $263 $275 $250 $250 $250 $250 $275 $250 $250 $320
(N = 367) oe aD (N=83) (N=17) (N=13) (N=15) (N=13) (N=38) (N=22) (N=43) (N=31) (N=77)
s are reported only for groups with six or more observations, Otherwise a tilde is shown (~).

 

Note: Attorneys could report working in more than one practice area. Rate

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2015 HOURLY RATE FACT SHEET

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Hourly Rates by Practice Area by Geographic Region (continued)
2015 Median Hourly Rates

 

  

    

       
   

     

  

 

 

 

 

2015 Median Hourly Rates by Practice Area by Region
(Continued)
Houston- Dallas- San Beaumont- East &
The Fort Austin- Antonio- El Paso Corpus Poti Central NE South West Non- Out of
Woodlands- Worth- Round New MSA Christi Arthur Texas Tatas Texas Texas Metro State/
Sugarland Arlington Rock MSA Braunfels MSA MSA MSAs MSAs MSAs MSAs Areas Country
MSA MSA MSA
1a ; :
Litigation: Personal $200 $185 $200 $175
(N=135) (N= 104) (N = 20) (N=42) (N=13) (N=1]l) (N= 11) (N=9) (N=15) (N
Military ~ ~ 2 ~ ~ ~ o 7 ~ ~ ~ me 7
Oil & Gas $300 $268 $300 $250 ~ $250 ~ ~ $250 ~ $245 $250 $275
(N=100) (N=48) (N=14) (N=17) (N=7) (N= 18) (N=34) (N=25) (N=19)
Other $250 $278 $250 $300 ~ ~ ~ ~ ~ $200 $225 $283 $295
(N = 49) (N = 36) (N = 19) (N = 16) (N=9) (N=12) (N = 22)
Public Utility Law ~ ~ $320 ~ ~ ~ ~ ~ ~ ~ ~ ~ ~
(N = 12)
Real Estate $275 $285 $275 $250 $213 $250 $250 $250 $250 $250 $200 $200 $275
(N=150) (N= 162) (N = 60) (N=57) (N=10) (N=1)) (N=9) (N=20) (N=11) (N=18) (N = 44) (N = 35)
School Law $250 $205 $249 ~ ~ ~ ~ ~ ~ ~ ~ ~ ~
(N=9) (N=1i)} (N = 6)
Securities Law $400 $375 $375 ~ ~ ~ ~ ~ ~ ~ ~ m~ $465
(N = 26) (N = 23) (N=15) (N=7)
Social Security Law ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~
Taxation $350 $400 $325 $288 ~ ~ ~ ~ ~ ~ ~ ~ $325
(N = 62) (N = 42) (N = 20) (N= 12) (N = 16)
Technology ~ $350 $368 ~ ~ ~ ~ ~ ~ ~ ~ ~ ~
(N=9) — (N=8)
Wills-Trusts-Probate $275 $275 $275 $250 $225 $213 $250 ~ $250 $260 $250 $250 $300
(N=147) — (N= 134) (N = 48) (N=65) (N=7)__ (N=14) (N=7) (N=11) (N=35)  (N=9) (N=32) (N=58) (N = 15)
for groups with six or more obs ervations. Otherwise a tilde is shown (~).

Note: Attorneys could report working in more than one practice area, Rates are reported only

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2015 HOURLY RATE FACT SHEET

Hourly Rates by Geographic Region by Years of Experience

2015 Median Hourly Rates

 

 

 

     

 

 

     

   

   

   

   

2015 Median Hourly Rates by Region by Years of Experience
2 or less years 3 to 6 years 7 to 10 years il to 15 years 16 to 20 years 21 to 25 years _ Over 25 years
Region by Years of Experience
Houston-The Woodlands-Sugarland MSA $250 $265 $257 $300 $300
(N = 145) (N= 211) (N = 125) (N = 130) (N = 92) (N = 103) (N = 322)
Dallas-Fort Worth-Arlington MSA $217 $250 $250 $300 $300 $300 $350
(N = 155) (N = 210) (N = 161) (N = 113) (N = 99) (N = 112) (N = 292)
Austin-Round Rock MSA $225 $250 $300 $300 $308 $350 $306
(N = 44) (N = 89) (N = 52) (N = 65) (N = 46) (N =41) (N = 112)
San Antonio-New Braunfels MSA $200 $200 $250 $250 $284 $288 $300
(N = 52) (N = 68) (N = 39) (N = 40) (N = 32) (N= 14) (N = 96)
El Paso MSA ~ $175 ~ $233 $225 ~ $275
(N= 9) (N = 6) (N= 12) (N= 21)
Corpus Christi MSA $188 a ~ ~ ~ ~ $269
(N = 6) (N = 24)
Beaumont-Port Arthur MSA ~ ~ ~ ~ ~ $250 $275
(N = 6) (N = 19)
Central Texas MSAs ~ $214 ~ $215 ~ ~ $259
(N = 14) (N =9) (N= 14)
East & NE Texas MSAs $175 $200 $240 $235 $263 $275 $275
(N = 10) (N = 21) (N = 12) (N = 15) (N = 12) (N = 19) (N = 50)
South Texas MSAs $160 $185 $225 $200 $238 $231 $250
(N = 6) (N=7) Qi =13) (N = 6) (= 4) (N = 28)
West Texas MSAs $180 $200 $200 $238 $250 $273 $275
(N = 20) (N = 34) (N = 23) (N = 16) (N = 12) (N = 14) (N = 34)
Non-Metro Areas $175 $190 $250 $225 $225 $250 $250
(N =8) (N = 16) (N=11) (N = 19) (N = 15) (N=7) (N = 78)
Out of State/Country $191 $250 $280 $295 $323 $260 $307
(N = 10) (N = 56) (N = 29) (N = 35) (N = 36) (N = 28) (N = 84)

 

 

Note: Attorneys could report working in more than one practice area. Rates are reported only for groups with six or more observations. Otherwise a tilde is shown (~).

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2015 HOURLY RATE FACT SHEET

  

 

   

Hourly Rates by Geographic Region by Firm Size
2015 Median Hourly Rates

  

 

     

 

 
 
 

 
 
 

  

 

 

2015 Hourly Rate Fact Sheet
Median Hourly Rates by Firm Size and Region
Solo 2to5 6 to 10 11 to 24 25 to 40 41 to 60 61 to 100 101 to 200
Practitioners attorneys attorneys attorneys attorneys attorneys attorneys attorneys 201 to 400 Over 400
misize by Region ; : i
Houston-The Woodlands-
Sugarland MSA $250 $250 $250 $270 $250 $253 $246 $350 $354
(N = 264) (N = 306) (N = 133) (N = 118) (N = 65) (N = 20) (N = 32) (N = 33) (N = 42) (N = 107)
Dallas-Fort Worth-Arlington MSA $275 $270 $250 $228 $250 $335 $295 $360 $345 $392
(N = 265) (N = 301) (N = 126) (N = 112) (N = 86) (N = 53) (N =27) (N = 25) (N = 41) (N = 99)
Austin-Round Rock MSA $268 $297 $300 $295 $250 $285 $250 $305 $408 $459
(N = 110) (N = 122) (N = 58) (N = 44) (N = 23) (N = 11) (N=7) (N= 8) (N = 22) (N = 40)
San Antonio-New Braunfels MSA $250 $225 $216 $215 $210 $263 ~ ~ $293 $421
(N = 107) (N = 93) (N = 50) (N = 40) (N = 8) (N=7) (N = 16)
El Paso MSA $250 $200 ~ $171 ~ ~ ~ ~ ~ ~
(N= 17) (N = 27) (N = 8)
Corpus Christi MSA $250 $225 $208 ~ ~ ~ ~ ~ ~ ~
(N= 27) (N= 10)
Beaumont-Port Arthur MSA $230 $225 $264 ~ ~ ~ ~ ~ ~ ~
(N= 9) (N= 14) (N= 6)
Central Texas MSAs $213 $200 ~ $225 ~ ~ ~ ~ ~ ~
(N= 15) (N = 13) (N = 10)
East & NE Texas MSAs $250 $250 $250 $248 ~ ~ ~ ~ ~ ~
(N=48) (N=54)  (N=19)_— (N= 14)
South Texas MSAs $225 $230 $188 $200 ~ ~ ~ ~ ~ ~
(N = 27) (N = 21) (N= 11) (N= 14)
West Texas MSAs $225 $200 $224 $209 $241 $205 ~ ~ ~ ~
(N = 34) (N = 35) (N = 22) (N = 28) (N = 20) (N= 10)
Non-Metro Areas $200 $250 $250 ~ ~ ~ ~ ~ ~ ~
(N = 79) (N = 59) (N = 10)
Out of State/Country $256 $275 $225 $288 $250 $308 $270 $308 $368 $465
(N= 52) (N = 50) (N = 33) (N = 26) (N= 25) (N= 9) (N =9) CN = 12) (N = 19) (N= 39

  

  

 

 

Rates are reported only for groups with six or more observations. Otherwise a tilde is shown (~).

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2015 HOURLY RATE FACT SHEET

     

 

 

APPENDIX

Method

Data Collection
urvey — Status 2015. The questionnaire (Appendix A) was emailed on March 21, 2016, to 94,150

Attorney hourly rate information was collected in the Texas Attorney $
ership in the State Bar of Texas, and who did not opt out of receiving survey mailings.

active attorneys licensed by the State Bar of Texas, maintaining active memb

The survey’s results are presented in part by geographic region, which is broken down into 13 economic areas. The metropolitan areas (Metropolitan Statistical Areas or

MSAs) were defined by the Federal Office of Management and Budget.

Response Rate

The cutoff date of the survey was April 18, 2016. As of the deadline there were 11,793 who completed the questionnaire, for an overall response rate of 12.5 percent.
Response rates for each region are shown in the table below. Information below is on respondents who provided information on the county they practiced in.

 

 

 

 

 

 

 

 

 

 

2015 Hourly Rate Fact Sheet - Response Rates
Active State Bar of % of State Bar SBOT Survey % of R 4
Texas Members Membership — Respondents + of Respondent Response Rate

Houston-The Woodlands-Sugarland MSA 28,224 28,6% 2,711 29.1% 9.6%
Dallas-Fort Worth-Arlington MSA 26,853 27.2% 2,704 29.0% 10.1%
Austin-Round Rock MSA 11,781 11,9% 1,411 15.1% 12.0%
San Antonio-New Braunfels MSA 6,754 6.8% 799 8.6% 11.8%
El Paso MSA 1,278 1.3% 161 1.7% 12.6%
Corpus Christi MSA 1,088 1.1% 134 1.4% 12.3%
Beaumont-Port Arthur MSA 795 0.8% 84 0.9% 10.6%
Central Texas MSAs 1,034 1,0% 140 1.5% 13.5%
East & NE Texas MSAs 2,270 2.3% 284 3.0% 12.5%
South Texas MSAs 1,923 1.9% 219 2.3% 11.4%
West Texas MSAs 2,540 2.6% 332 3.6% 13.1%
Non-Metro Areas 3,417 3.5% 395 4.2% 11.6%
Out of State/Country 10,714 10.9% 1,069 11.5% 10.0%
Total attorneys identified by work location 98,671 100,0% 10,443 100.0% 10.6%
Response rate including all attorneys who

responded, even if not identified by location 11,793 12.5%

 

 

 

*Numbers are based on attomeys who have reported the county they practiced in.

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Regions and Counties in Each Region

1 Houston-The Woodlands-Sugar Land MSA
Austin
Brazoria
Chambers
Fort Bend
Galveston
Harris
Liberty
Montgomery
Waller

2 Dallas-Fort Worth-Arlington MSA
Collin
Dallas
Denton
Ellis
Hood
Hunt
Johnson
Kaufman
Parker
Rockwall
Somervell
Tarrant
Wise

3 Austin-Round Rock MSA
Bastrop
Caldwell
Hays
Travis
Williamson

4 San Antonio-New Braunfels MSA
Atascosa
Bandera
Bexar
Comal
Guadalupe
Kendall
Medina
Wilson

5 El Paso MSA
El Paso
Hudspeth

 

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6 Corpus Christi MSA
Aransas
Nueces
San Patricio

7 Beaumont-Port Arthur MSA
Hardin
Jefferson
Newton
Orange

Central Texas MSAs

8 Waco MSA
McLennan
Falls

9 Killeen-Temple MSA
Bell
Coryell
Lampasas

East & NE Texas MSAs

10 College Station-Bryan MSA
Brazos
Burleson
Robertson

i] LongviewMSA
Gregg
Rusk
Upshur

12 Sherman-Denison MSA
Grayson

13 Texarkana MSA
Bowie

14 Tyler MSA
Smith

15 Victoria MSA

Goliad
Victoria

2015 HOURLY RATE FACT SHEET

 

16 Wichita Falls MSA

Archer
Clay
Wichita
South Texas MSAs
17 Brownsville-Harlingen MSA
Cameron
18 Laredo MSA
Webb
19 McAllen-Edinburg-Mission MSA
Hidalgo
West Texas MSAs
20 Abilene MSA
Callahan
Jones
Taylor
21 Amarillo MSA
Armstrong
Carson
Oldham
Potter
Randall
22 Lubbock MSA
Crosby
Lubbock
Lynn
23 Midland MSA
Martin
Midland
24 Odessa MSA
Ector
25 San Angelo MSA
Trion
Tom Green
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26 Non-Metropolitan Counties

 

State

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Anderson
Andrews
Angelina
Bailey
Baylor
Bee
Blanco
Borden
Bosque
Brewster
Briscoe
Brooks
Brown
Burmet
Calhoun
Camp
Cass
Castro
Cherokee
Childress
Cochran
Coke
Coleman
Collingsworth
Colorado
Comanche
Concho
Cooke
Cottle
Crane
Crockett
Culberson
Dallam
Dawson
Deaf Smith
Delta
De Witt
Dickens
Dimmit
Donley
Duval
Eastland
Edwards
Erath
Fannin
Fayette
Fisher
Floyd
Foard

 

 

 

  

Franklin
Freestone
Frio
Gaines
Garza
Gillespie
Glasscock
Gonzales
Gray
Grimes
Hale
Hall
Hamilton
Hansford
Hardeman
Harrison
Hartley
Haskell
Hemphill
Henderson
Hill
Hockley
Hopkins
Houston
Howard
Hutchinson
Jack
Jackson
Jasper
Jeff Davis
Jim Hogg
Jim Wells
Karnes
Kenedy
Kent
Kerr
Kimble
King
Kinney
Kleberg
Knox
Lamar
Lamb
La Salle
Lavaca
Lee
Leon
Limestone
Lipscomb
Live Oak

 

2015 HOURLY RATE FACT SHEET

Llano
Loving
Madison
Marion
Mason
Matagorda
Maverick
MeCulloch
McMullen
Menard
Milam
Mills
Mitchell
Montague
Moore
Morris
Motley
Nacogdoches
Navarro
Nolan
Ochiltree
Palo Pinto
Panola
Parmer
Pecos
Polk
Presidio
Rains
Reagan
Real
Red River
Reeves
Refugio
Roberts
Runnels
Sabine
San Augustine
San Jacinto
San Saba
Schleicher
Scurry
Shackelford
Shelby
Sherman

Starr
Stephens
Sterling
Stonewall
Sutton
Swisher

Terrell
Terry
Throckmerton
Titus
Trinity
Tyler
Upton
Uvalde
Val Verde
Van Zandt
Walker
Ward
Washington
Wharton
Wheeler
Wilbarger
Willacy
Winkler
Wood
Yoakum
Young
Zapata
Zavala
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